                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:20-CV-579-BO

TACHO M. SANDOVAL, an individual,           )
               Plaintiff,                   )
                                             )
V.                                        )                        ORDER
                                          )
JOHN DOE NO. 1, a/k/a                     )
"Fullest_Disclosure," an individual; JOHN )
DOE NO. 2, a/k/a "MoMoneyRules," an       )
individual; and JOHN DOE NO. 3, a/k/a     )
"Cartman_3_16," an individual,            )
                     · Defendants.        )


       This cause comes before the Court on a motion by defendant John Doe No. 3, a/k/a

"Cartman_3_16" (Cartman) for protective order and stay of an order entered by United States

Magistrate Judge Numbers on November 30, 2021, pending Cartman's appeal. Cartman has

requested expedited consideration of his motion for protective order and stay. Plaintiff opposes

Cartman's motion. For good cause shown, and pursuant to the Court's inherent authority, the

motion for protective order and stay [DE 32] is GRANTED.

       The magistrate judge's November 30, 2021, order is STAYED pending tlie undersigned's

consideration of any appeal filed by Cartman and review of matters previously decided. All future

matters in this case will be submitted to the undersigned for review. Investorshub.com, Inc.'s

obligation to comply with the subpoena is STAYED. Cartman is DIRECTED to serve a copy of

this order on InvestorsHub.com, Inc.


SO ORDERED, this~ day of December, 2021.



                                            T RRENCE W. BOYLE
                                            UNITED STATES DISTRICT UDGE



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